                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )   NO. 3:21-cr-00264
                                               )
[1] BRIAN KELSEY,                              )
[2] JOSHUA SMITH                               )
                                               )
       Defendants.                             )


                                          ORDER

      An in-person status conference is set for December 20, 2021, at 9:00 a.m.

      IT IS SO ORDERED.



                                          ____________________________________
                                          WAVERLY D. CRENSHAW, JR.
                                          CHIEF UNITED STATES DISTRICT JUDGE




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